                             Case 3:19-mj-08072-MAT Document 1 Filed 08/26/19 Page 1 of 6
(W.D.T.X. Ref: 245H)(Rev. 01/05)- Judgement In a Criminal Case for a Petty Offense (Short Form)



                                     UNITED STATES DISTRICT COURT                                                                 FILED
                                                                                                                                08/26/2019
                                                       WESTERN DISTRICT OF TEXAS                                         Clerk, U.S. District Court
                                                           EL PASO DIVISION                                              Western District ofTe:ms


                                                                                                                   By: _ _.....:,R~R~V       _ __
                                                                                                                                  Deputy



UNITED STATES OF AMERICA                                                               §
                                                                                       § CASE NUMBER: EP: 19-M -08072(1) - MAT
vs.                                                                                    § USM Number:
                                                                                       §
(1) JOSE ALBERTO TORRES-CORTEZ                                                         §

                 Defendant.

                                                         JUDGMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

                The defendant, Jose Alberto Torres-Cortez, was represented by counsel, Joshua Cody Spencer.

          The defendant pled guilty to the complaint on August 26, 2019. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                        Date of Offense

8: 132S(a)(2)                              ATTEMPTED ILLEGAL ENTRY                                BY   ELUDING   AN August 22, 2019
                                           IMMIGRATION OFFICER


           As pronounced on August 26, 2019, the defendant is hereby committed to the custody of the
United States Bureau of Prisions for a term of Time Served plus one day. The defendant shall remain in
custody pending service of sentence.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to
18 U.S.C. § 3573 because reasonable efforts to collect this assessment are not likely to be effective.

                 Signed this the 26th day of August, 2019.
                Case 3:19-mj-08072-MAT Document 1 Filed 08/26/19 Page 2 of 6


bef




                                     United States District Court
                                           Western District of Texas
                                              El Paso Division
                       INITIAL APPEARANCE I PLEA AND SENTENCE
                                                                  Case Number: EP:19-M -08072(1) MAT
DEFENDANT'S NAME:                                         ATTY FOR DEFENDANT: Joshua Cody Spencer
Jose Alberto Torres-Cortez

JUDGE:         Miguel A. Torres                           AUSA:               John Gans
DEPUTY CLERK:  Rita R Velez                               INTERPRETER:       ,;-LKJ;....x___,;;....;_Y....;..es-----"TLJ-""''"":"'"N_o_ _
COURTREPORTER: ~E=R~O-----------------                    PROBATION:
                                                          PRETRIAL OFFICER: - - - - - - - - - - - - -
DATE:                 08/26/2019                          TIME: _Minutes             3:32-4:20

PROCEEDINGS                                                DFTNO.                    [DftNol]                           [DftNo2]

[KJ     INITIAL APPEARANCE HELD                                                    I       X
[K)     ARRAIGNMENT HELD                                                           I       X
[K)     DFT INFORMED OF RIGHTS/oral consent to plea                                        X
[KJ     GUILTY      DEFT [DftNol] COUNT(S):        COMPLAINT

[J[)    GUlLTY PLEA ACCEPTED BY THE COURT                                                  X

D       Information Filed On-------------
0       Motion to Dismiss Complaint filed on--------
0       Court Grants Motion to Dismiss on ________
0       Order Dismissing Complaint entered on ________

0       Oral Motion by AUSA to Remit Special Assessment                                     X
0       Oral Order Granting Oral Motion to Remit Special Assessment                         X

        SENTENCING HELD: Defendant sentenced to Time Served plus one day; No Fine; S/A
        REMITTED.
OTHER:_____________________________________________________________
         Case 3:19-mj-08072-MAT Document 1 Filed 08/26/19 Page 3 of 6




                                    United States District Court
                                         Western District of Texas
                                            El Paso Division

UNITED STATES OF AMERICA                              §
                                                      §
vs.                                                   § No: EP:19-M -08072(1)
                                                      §
                                                      §
(1) JOSE ALBERTO TORRES-CORTEZ
                                                      §
  Defendant
                            ORDER APPOINTING COUNSEL

              The above Defendant has testified under oath, or has otherwise satisfied this Court

that he or she is financially unable to employ counsel, and does not wish to waive counsel.

              Therefore, in the interests of justice, Joshua Cody Spencer, is hereby appointed,

pursuant to the provisions of the Criminal Justice Act, to represent said Defendant in this case.

              This appointment shall remain in effect until further order of the Court.

              It is, accordingly, so ORDERED this the 26th day of August, 2019.




                                                   UNITED STATES MAGISTRATE JUDGE
        Case 3:19-mj-08072-MAT Document 1 Filed 08/26/19 Page 4 of 6




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DMSION

USA                            §
                               §
vs.                            §                 Case Number: EP:19-M -08072(1)
                               §
(1) JOSE ALBERTO TORRES-CORTEZ §

      ORDER SETTING MISDEMEANOR ARRAIGNMENT/PLEA & SENTENCE


IT IS HEREBY ORDERED that the above entitled and numbered case is set before the
HONORABLE U.S. MAGISTRATE MIGUEL A. TORRES for MISDEMEANOR
ARRAIGNMENT/PLEA & SENTENCE, August 26, 2019 at 02:30 PM in Magistrate
Courtroom, Room 712.

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to the
defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 08/26/2019.



                                             ~a-~
                                            1\b:~A.ORRES
                                            UNITED STATES MAGISTRATE JUDGE
                      Case 3:19-mj-08072-MAT Document 1 Filed 08/26/19 Page 5 of 6

AO 91 (Rev. I III I) Criminal Compl aint


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                        Western District of Texas

                   United States of America                         )
                                  V.                                )
                                                                    )      Case No.
           JOSE ALBERTO TORRES-CORTEZ
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Def endant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the fol lowi ng is true to the best of my knowledge and belief.
On or about the date(s) of                        8/22/2019                in the county of             El Paso            in the
     Western            District of ____T_e_x_a _s _ _ _ , the defendant(s) violated:

             Code Section                                                     Offense Description
8 U.S .C. 1325(a)(2)




          This criminal complaint is based on these facts:




          ~ Continued on the attached sheet.




                                                                                    Sandra Lopez, CBP Enforcement Officer
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             08/26/2019


City and state:                             EIPaso, Texas                      Miguel A. Torres , United States Magistrate Judge
                                                                                              Printed name and title
          Case 3:19-mj-08072-MAT Document 1 Filed 08/26/19 Page 6 of 6



Continuation of Criminal Complaint

On August 22, 2019, the Defendant Jose Alberto Torres-Cortez, a native and citizen of Mexico,
attempted to enter the United States from Mexico by eluding inspection from Customs and Border
Protection Officer at the Stanton Bridge, in El Paso, Texas. Customs and Border Protection Officer
Eduardo Lozano observed three men running northbound towards the Stanton exit toll booths
attempting to enter the United States. Officer Lozano gave chase, while CBPO Pena drove around to
intercept the three men. Officer Lozano caught up to the three men as one was jumping off the fence
and the other two were climbing the fence. Officer Lozano instructed all the men to stop, climb off the
fence and get on the ground. The Defendant was apprehended and transported to the Paso Del Norte
Port of Entry for processing.

In secondary, the Defendant was served with form 1-214, Warning of Rights, which he signed indicating
he understood and waived his right to have an attorney present during questioning. The Defendant
admitted he attempted to enter the United States by running north on the southbound pedestrian
walkway. The Defendant further admitted he does not have documents to enter the United States.
Database records disclose the Defendant does not have a document to enter the United States.

Because this affidavit is being submitted for the limited purpose of establishing probable cause as set
forth herein, I have not included each and every fact known to me concerning this investigation.




Criminal/Immigration History

None can be established at this time.
